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 1                                                             District Judge James L. Robart
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 7
                       UNITED STATES DISTRICT COURT FOR THE
 8
                         WESTERN DISTRICT OF WASHINGTON
 9                                 AT SEATTLE
10
11 SEA SHEPHERD LEGAL,
                                                      Case No. C19-463 JLR
12
                                Plaintiff,            STIPULATED BRIEFING
13                                                    SCHEDULE AND ORDER
                         v.
14
                                                      Noted for Consideration: October
15 NATIONAL OCEANIC AND                               20, 2020
   ATMOSPHERIC ADMINISTRATION, et
16
   al.,
17
                     Defendants.
18
19         Plaintiff SEA SHEPHERD LEGAL (“SSL”) filed the above-captioned lawsuit
20 under the Freedom of Information Act (“FOIA”) against Defendants NATIONAL
21 OCEANIC AND ATMOSPHERIC ADMINISTRATION and NATIONAL MARINE
22 FISHERIES SERVICES (collectively, “Defendants”), seeking disclosure of certain
23 documents (“First FOIA Lawsuit”). At the parties request, the Court consolidated the
24 First FOIA Lawsuit with a related case, Sea Shepherd Legal v. NOAA, et al., 19-cv-1485-
25 JLR. Dkt. No. 34. The Court ordered that all remaining filings be made in the First
26 FOIA Lawsuit. Id.
27      On October 13, 2020, the parties filed a Joint Status Report notifying the Court
28 that, based upon its review to date of produced records, SSL had identified a number of


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 1 records that it deemed to be improperly redacted. Dkt. No. 39 The parties further
 2 notified the Court that they would provide a proposed briefing schedule by October 20th.
 3 Id. On October 14th, the Court ordered the parties to submit a proposed briefing schedule
 4 on or before October 20th. Dkt. No. 40.
 5         The parties have now had the opportunity to confer and have agreed upon a
 6 briefing schedule for SSL’s motion. The following proposed schedule is premised upon
 7 the Defendants’ agreement to provide SSL with a Vaughn Index by November 4th for a
 8 subset of records selected by SSL in an effort to streamline the briefing process:
 9
10                   SSL’s Motion                          November 19, 2020
11                   Defendants’ Opposition                December 7, 2020
12                   SSL’s Reply                           December 11, 2020
13
14         Accordingly, the parties request that the Court approve their agreed upon briefing
15 schedule
16       Dated this 20th day of October 2020.
17                                     Respectfully submitted,
18                                     s/  Brett W. Sommermeyer
19                                     BRETT W. SOMMERMEYER, WSBA # 30003

20                                     s/  Catherine E. Pruett
                                       CATHERINE E. PRUETT, WSBA # 35140
21
22                                     SEA SHEPHERD LEGAL
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23                                     Seattle, WA 98102
24                                     Phone: (206) 504-1600
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25                                     Email: catherine@seashepherdlegal.org
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                                                      10/20/20 Page 3 of 4




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     STIPULATED BRIEFING SCHEDULE AND ORDER C19-463 JLR
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 1                                           ORDER
 2
           Having reviewed the parties’ stipulation regarding SSL’s motion challenging
 3
     Defendants’ record redactions, the Court ORDERS the following briefing schedule:
 4
 5
                     SSL’s Motion                         November 19, 2020
 6
                     Defendants’ Opposition               December 7, 2020
 7
                     SSL’s Reply                          December 11, 2020
 8
 9
           Dated this 21st day of October 2020.
10
11
12
                                        A
                                       JAMES L. ROBART
                                       United States District Judge
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     STIPULATED BRIEFING SCHEDULE AND ORDER C19-463 JLR
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